    10-03634-cgm         Doc 65      Filed 08/08/12      Entered 08/08/12 15:13:34          Summons        Pg 1
                                                         of 2
                              UNITED STATES BANKRUPTCY COURT
                                   Southern District of New York
In re: Fairfield Sentry Limited and Kiangsu Chekiang and Shanghai Residents                     Bankruptcy Case No.:
(H.K.) Ass                                                                                            10−13164−brl

Fairfield Sentry Limited ( In Liquidation) acting by and through the Foreign
Representatives thereof
Kenneth Krys solely in his capacity as Foreign Representative and Liquidator
thereof
                                                      Plaintiff(s),
                                                                                           Adversary Proceeding No.
−against−                                                                                             10−03634−brl
Zurich Capital Markets Company
Banco ITAU Europa Luxembourg
Bank Morgan Stanley AG
Bank Morgan Stanley SA
Banque Sudameris
Caprice International Group
Citibank (Switzerland) Zurich
Citigroup
Citivic Nominees Limited
Compagne Bancaire Espirito Santo SA
EFG Private Bank SA
Merrill Lynch Bank
Morgan Stanley & Co. International plc
Safra National Bank of New York
HSBC Bank USA
Antonio Bacelar Carrehas
aka Banque Privee Espirito Santo
Desert Rose Limited
Edson Terra Cunha
Denise Bar
Fabio Rodrigues Mendes
Pine Cliffs Investments Limited
ASBT Cayman Sub No. 82
Beneficial Owners of Accounts Held in the Name of Zurich Capital Markets
Company 1−1000
EFG Bank AG f/k/a EFG Private Bank SA
ZCM Asset Holding Co. Bermuda
ZCM Matched Funding Corp.
                                                 Defendant(s)
                                SECOND AMENDED
                    SUMMONS AND NOTICE OF PRETRIAL CONFERENCE
                          IN AN ADVERSARY PROCEEDING

YOU ARE SUMMONED and required to submit a motion or answer to the complaint which is attached to this
summons to the clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except that
the United States and its offices and agencies shall submit a motion or answer to the complaint within 35 days, to:

Address of Clerk:
                                Clerk of the Court
                                United States Bankruptcy Court
                                Southern District of New York
                                One Bowling Green
                                New York, NY 10004−1408
At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.
Name and Address of
Plaintiff's Attorney:
    10-03634-cgm        Doc 65      Filed 08/08/12     Entered 08/08/12 15:13:34      Summons        Pg 2
                                                       of 2
                               David Molton
                               Brown Rudnick LLP
                               7 Times Square
                               Times Square Tower
                               New York, NY 10036
If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.

YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint will be
held at the following time and place:
United States Bankruptcy Court                                   Room: Courtroom 623 (BRL), One Bowling
Southern District of New York                                    Green, New York, NY 10004−1408
One Bowling Green
New York, NY 10004−1408                                          Date and Time: 9/12/12 at 10:00 AM
IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT
MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.


Dated: 8/8/12                                            Vito Genna

                                                         Clerk of the Court

                                                         By: /s/ Tiffany Campbell

                                                         Deputy Clerk
